











Opinion issued October 17, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–05–00969–CV
____________

IN RE ERICA HAYWOOD, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Erica Haywood filed a petition for a writ of mandamus complaining of
various acts allegedly taken by Judge Millard.


  Relator states that the case is set for
trial on October 18, 2005.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus.
&nbsp;
PER CURIAM
Panel consists of Justices Taft, Jennings, and Alcala.


